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                            UNITED STATES DISTRICT COURT                           J
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                            EASTERN DISTRICT OF KENTUCKY
                                 NORTHERN DIVISION
                                     COVINGTON

                                     ELECTRON/CALLY FILED


 CIVIL ACTION NO: 18·143-WOB·CJS

 UNITED STATES OF AMERICA                                                    PLAINTIFF

 vs.

 NIAN F. HOGAN,    et al.                                                    DEFENDANTS


                                           ORDER


        Upon Motion of James M. West, Warning Order Attorney in the above captioned

 case for the Court to accept the Warning Order Report, to dismiss said attorney from

 further action in the case and for payment for services rendered herein, and the Court

 being otherwise sufficiently advised,

        IT IS HEREBY ORDERED that the Warning Order Report filed by James M. West,

 Esq., is hereby accepted and James M. West, Esq. shall be dismissed from further action

 in this case;

        IT IS FURTHER ORDERED that James M. West Esq. shall be paid the sum of

 One Hundred and Fifty-Dollars ($150.00) for services rendered plus Forty-Eight Dollars

 and eighty-six cents ($48.86) cents for costs expended, for a total of One-Hundred

 Ninety-Eight Dollars and eighty-six cents ($198.86) to be paid to the said James M. West,

 as Warning Order Attorney herein.
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        GIVEN UNDER MY HAND THIS 7--             DAY OF . "11.rvtvJ<,..       , 2019.
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                                                       Judge U.S. District Court
 cc:    George Mason, Jr., Esq.
        James M. West, Esq.
